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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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IVAN ANTONYUK, COREY JOHNSON, ALFRED
TERRILLE, JOSEPH MANN, LESLIE LEMAN, and
LAWRENCE SLOANE,

                                   Plaintiffs,

                 -against-                                             Case No. 22 Civ. 986 (GTS) (CFH)

KATHLEEN HOCHUL, in her official capacity as
Governor of the State of New York, KEVIN P. BRUEN,                     NOTICE OF MOTION TO
in his official capacity as Superintendent of the New                  DISMISS
York State Police, Judge MATTHEW J. DORAN, in his
official capacity as Licensing-official of Onondaga
County, WILLIAM FITZPATRICK, in his official
capacity as Onondaga County District Attorney,
EUGENE CONWAY, in his official capacity as Sheriff
of Onondaga County, JOSEPH CECILE, in his official
capacity as Chief of Police of Syracuse, P. DAVID
SOARES, in his official capacity as District Attorney of
Albany county, GREGORY OAKES, in his official
capacity as District Attorney of Oswego County, DON
HILTON, in his official capacity as Sheriff of Oswego
 County, and JOSEPH STANZIONE, in his official
capacity as District Attorney of Greene County

                                    Defendants.
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        PLEASE TAKE NOTICE that upon the State Defendants’ Memorandum of Law in Support

of Their Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(1), and upon all prior

proceedings, the State Defendants – Kathleen Hochul, Matthew J. Doran, and Kevin P. Bruen, in

their official capacities – will move this Court at a date and time to be established by the Court at the

United States District Court, Northern District of New York, Syracuse, New York, for an order

dismissing the case pursuant to Federal Rule of Civil Procedure 12(b)(1), and granting such other

and further relief as the Court deems just and proper.
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                                 Dated:      October 13, 2022

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To:   All Attorneys of Record (via CM/ECF)
